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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                      Cause No. CR 14-96-GF-BMM
                                                         CV 17-89-GF-BMM
             Plaintiff/Respondent,

       vs.                                   ORDER DENYING MOTION TO
                                             RECONSIDER AND DENYING
TERRY LEROY BRASDA,                               CERTIFICATE OF
                                                  APPEALABILITY
             Defendant/Movant.


      The Court denied Defendant Brasda’s motion to vacate, set aside, or correct

the sentence under 28 U.S.C. § 2255 on October 18, 2017. Brasda is a federal

prisoner proceeding pro se. Brasda now asks the Court to explain why the ruling

on his motion does not follow the commentary to Amendment 794. See Letter

(Doc. 851) at 1-2.

      The commentary Brasda quote does not constitute commentary by the

United States Sentencing Commission. see Id. at 1. The Commission’s

commentary does not refer to 28 U.S.C. § 2255. Further, Brasda misunderstood the

decisions cited in his § 2255 motion. None of them arose under or refer to 28

U.S.C. § 2255. See United States v. Quintero-Leyva, 823 F.3d 519, 520 & n.1 (9th

Cir. 2016); United States v. Brooks, 732 F.3d 148, 149 (2d Cir. 2013) (per curiam);

United States v. Sabbeth, 277 F.3d 94, 95, 99 (2d Cir. 2002); United States v.

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Sanchez, 81 F.3d 9, 10 (1st Cir. 1996), cited in Mot. § 2255 (Doc. 844) at 3-4.

Brasda asserted that “the retroactivity of clarifying amendments to collateral

proceedings” is “firmly entrenched in many federal circuit courts of appeal.” Mot.

§ 2255 (Doc. 844) at 3 (emphasis added). These cases hold only that clarifying

amendments are generally retroactive to cases on direct review.

      Construing Brasda’s request for an explanation as a motion to reconsider, it

is denied. A certificate of appealability is also denied. Brasda has not shown he

was deprived of a constitutional right. See 28 U.S.C. § 2253(c)(2).

      Accordingly, IT IS HEREBY ORDERED:

      1. Brasda’s motion to reconsider (Doc. 849) is DENIED.

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Brasda files a Notice of Appeal.

      3. With Brasda’s service copy of this Order, the clerk will include the

Commission commentary following Amendment 794, U.S.S.G. Supp. to App. C

(Nov. 1, 2016), at 114-117.

      DATED this 21st day of November, 2017.




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